 Case 2:12-cr-00167   Document 99   Filed 06/20/16   Page 1 of 4 PageID #: 272



                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                  CRIMINAL ACTION NO. 2:12-00167-02

JAMIE L. FOSTER


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On June 15 and 16, 2016, the United States of America

appeared by Jennifer Rada Herrald, Assistant United States

Attorney, and the defendant, Jamie L. Foster, appeared in person

and by her counsel, Philip B. Sword, for a hearing on the

petition on supervised release and amendment thereto submitted

by United States Probation Officer Justin L. Gibson.              The

defendant commenced a thirty-three month term of supervised

release in this action on November 13, 2014, as more fully set

forth in the Supervised Release Revocation and Judgment Order

entered by the court on August 5, 2014.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
 Case 2:12-cr-00167   Document 99   Filed 06/20/16   Page 2 of 4 PageID #: 273



           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) the defendant

used and possessed controlled substances as evidenced by a

positive urine specimen submitted by her on October 23, 2015,

for oxycodone; a positive urine specimen submitted by her on

November 9, 2015, for marijuana and oxycodone, the defendant

having admitted to the defendant that she had used oxycodone

intravenously; a positive urine specimen submitted by her on

December 14, 2015, for oxycodone and oxymorphone; her admission

to the probation officer on April 15, 2016, that she had used

Roxicodone on March 25, 2016, and April 9, 2016; and a positive

urine specimen submitted by her on May 11, 2016, for oxycodone,

the defendant having admitted to the probation officer that she

had used Roxicodone on May 7, 2016; (2) the defendant failed to

report to the probation officer as directed on April 12 and 21,

2016; (3) the defendant failed to report for urinalysis testing

as directed on October 16 and 27, November 13 and 24, December 4

and 18, 2015; and January 12, 2016; (4) the defendant failed to

complete inpatient substance abuse treatment through the MOTHER

program as directed by the probation officer inasmuch as she

entered the program on January 25, 2016, and was terminated on
                                     2
 Case 2:12-cr-00167   Document 99   Filed 06/20/16   Page 3 of 4 PageID #: 274



April 11, 2016, after testing positive for, and admitting her

use of, controlled substances; and (5) the defendant failed to

report for substance abuse counseling as directed on November 24

and December 4, 2015; all as admitted by the defendant on the

record of the hearing and all as set forth in the petition on

supervised release and amendment thereto.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal

Procedure, and finding, after considering the factors set forth

in 18 U.S.C. § 3583(e), that the defendant should be confined to

the extent set forth below, it is accordingly ORDERED that the

defendant be, and she hereby is, committed to the custody of the

United States Bureau of Prisons for imprisonment for a period of

TIME SERVED as of June 21, 2016, to be followed by a term of

thirty-one (31) months of supervised release upon the standard
                                     3
 Case 2:12-cr-00167   Document 99   Filed 06/20/16   Page 4 of 4 PageID #: 275



conditions of supervised release now in effect in this district

by order entered June 22, 2007, and the further condition that

the defendant not commit another federal, state or local crime

and the special condition, as requested by her, that,

immediately upon her release from incarceration, she shall go

directly to, participate in and complete the 12 to 15-month

residential program at the Union Mission in Charleston, West

Virginia, as more fully outlined on the record of the hearing,

and follow the rules and regulations of the program including

remaining regularly employed with the program as directed.


           The defendant shall be released from custody at 8:00

a.m. on June 21, 2016, for transportation by Gary Stover from

the South Central Regional Jail directly to the Union Mission

program.


           The defendant was remanded to the custody of the

United States Marshal.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.

                                         DATED:      June 20, 2016


                                     4
                                         John T. Copenhaver, Jr.
                                         United States District Judge
